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 8                                  UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                   Case No. 1:16-cr-000176-DAD-BAM
12                     Plaintiff,
13           v.                                   ORDER OF RELEASE
14    JAMAR JOHNSON,
15                     Defendant.
16

17         The above named defendant having been sentenced on October 28, 2019 to TIME

18   SERVED,

19         IT IS HEREBY ORDERED that the defendant shall be released FORTHWITH. A
20   judgment and commitment order will follow.
21   IT IS SO ORDERED.
22
        Dated:    October 28, 2019
23                                                UNITED STATES DISTRICT JUDGE
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